           Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 1 of 6



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8                              UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
10                                        OAKLAND DIVISION
11
     CALIFORNIA CRANE SCHOOL, INC.,
12                                                   Case No: 4:21-cv-10001 HSG
     on behalf of itself and all others similarly
13   situated                                        PLAINTIFFS SUR-REPLY TO MOTION
                                                     TO COMPEL ARBITRATION
14                          Plaintiffs,
                                                     Hearing Date:   September 29, 2022
15   vs.                                             Time:           2:00 p.m.
                                                     Place:          Courtroom 2
16   GOOGLE LLC, ALPHABET, INC.,                     Judge:          Hon. Haywood S. Gilliam Jr.

17   XXVI HOLDINGS, INC., APPLE, INC.,
     TIM COOK, SUNDAR PICHAI, and
18
     ERIC SCHMIDT,
19
                             Defendants.
20

21                                        INTRODUCTION
22          Plaintiffs respectfully submit this Sur-Reply Brief in response to Defendants’
23   Motion to Compel Arbitration, Docket No. 32, pursuant to the Court’s Order of June
24   16, 2022.
25                 I. Arbitration Has Been Waived by The Parties

26           By filing suit, Plaintiffs opted out of arbitration, and by filing their Motion to

27   Dismiss for failure to state a claim Defendants accepted Plaintiff’s opt-out and waived
     their right to arbitration by seeking a decision on the merits for the Court to decide.
28


                         Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
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          Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 2 of 6



1    Newirth v. Aegis Senior Communities, 931 F.3d 935, 941 (9th Cir. 2019) (“Seeking a
2    decision on the merits of a key issue in a case indicates an intentional and strategic
3    decision to take advantage of the judicial forum” in a game of “heads I win, tails you
4    lose.” Hooper v. Cash Advance Centers, 589 F.3d 917, 922 (8th Cir. 2009). On May

5    22, 2020, the U.S. Supreme Court held that it is error “to condition a waiver of the

6    right to arbitration on a showing of prejudice.” Morgan v. Sundance, Inc., No. 21-328,
     596 U.S.___, (May 23, 2022). By seeking a judicial decision on the merits, therefore,
7
     Defendants have waived their right to arbitration.
8
                  II. The Federal Arbitration Act Exempts the FAC From Arbitration
9
            The “saving clause” of the Federal Arbitration Act (“FAA”) exempts the FAC
10
     from arbitration under Section 2 of the FAA, 9 U.S.C. Section 2, which provides that
11
     “[a] written provision in …a contract…to settle by arbitration a controversy thereafter
12
     arising out of such contract…shall be valid, irrevocable, and enforceable….save upon
13   such grounds as exist at law or in equity for the revocation of any contract.”
14         Because Google’s Terms and Conditions (Defendants’ Exhibits A and D to
15   Decl. Shadd at ¶14 Miscellaneous (a)) designate that California law is controlling
16   (“ALL CLAIMS ARISING OUT OF OR RELATING TO THESE TERMS OR THE
17   PROGRAMS WILL BE GOVERNED BY CALIFORNIA LAW…”), California law
18   governs the interpretation of the contract and the arbitration clause. California law

19   provides two grounds for revocation of any contract. Both grounds, including 1)

20   public injunctive relief FAC ¶¶162 a.-i under California Civil Code sec. 3513, and 2)
     fraudulent concealment, FAC ¶¶ 158-160, which is a ground for revocation of any
21
     contract under California Civil Code sec. 1689, have been alleged in the FAC.
22
             The California Supreme Court’s ruling in McGill provides that a contractual
23
      provision such as an arbitration clause that “purports to waive [any party’s] right to
24
      request in any forum such public injunctive relief, is invalid and unenforceable.”
25
      McGill v. Citibank, N.A., 2 Cal.5th 945 (2017) (emphasis added), citing Calif. Civil
26
      Code sec. 3513.    Most recently in Hodges v. Comcast Cable Communications, LLC,
27    12 F.4th 1108, 1114-1116 (9th Cir. December 21, 2022), the Ninth Circuit reaffirmed
28    that “non-waivable ‘public injunctive relief’” is exempt from arbitration under the

                        Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
                                                  2
           Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 3 of 6



1     FAA’s saving clause so long as the request for public injunctive relief “aims to
2     restrain future violations of law for the benefit of the general public as a whole, rather
3     than a discrete subset of similarly situated persons, and that does so without requiring
4     consideration of the individual claims of non-parties.”

5           Thus, the allegations of the FAC ¶¶162 a.-i., that seek public injunctive relief to

6    restrain future violations of law for the benefit of the public as a whole without
     consideration of individual claims of non-parties are exempt from arbitration under
7
     California law pursuant to the FAA’s saving clause since the allegations request public
8
     injunctive relief that seeks to restrain future violations of law as diffuse benefits to the
9
     general public as a whole, rather than to a discrete subset of similarly situated persons.
10
     A.    The Clayton Act Section 16 Authorizes Private Parties to Seek Divestiture,
11
           a Diffuse Injunctive Relief that Benefits the Public as a Whole
12
            In California v. American Stores Co., 495 U.S. 271, 283-285 (1990), the Court
13   held that Section 16 of the Clayton Act authorizes private parties to sue for injunctive
14   relief, including to seek an order of divestiture for the interest of the diffuse public,
15   and not for a limited discrete class of persons, stating at 495 U.S. 283-285:
16          “Private enforcement of the Act was in no sense an afterthought; it was an
            integral part of the congressional plan for protecting competition… [ Its
17
            availability should be ‘conditioned by the necessities of the public interest
18          which Congress has sought to protect.’”]…We hold that such a remedy
            [divestiture] is a form of “injunctive relief” within the meaning of Section 16 of
19          the Clayton Act.” (Emphasis supplied).
20
            Thus, the Court held that Section 16 of the Clayton Act authorizes private suits
21
     for divestiture to protect competition that meets the Hodges standards of futurity and
22
     “diffuse benefits to the general public as a whole,” Hodges at 1114-1116. Plaintiff’s
23   request for future divestiture of the anticompetitive structure, its request to dismantle
24   the unlawful profit sharing and revenue sharing agreements between Google and
25   Apple, its demands to curtail the unlawful division of markets and to stop the unlawful
26   payments made to Apple so that it would not compete with Google in search would
27   serve to benefit everyone in society – consumers, competitors, and all other members
28   of the general public, by enhancing competition. These remedies are not directed at a


                        Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
                                                  3
           Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 4 of 6



1    discrete class of persons, nor do these remedies involve consideration of the rights and
2    obligations of non-parties. The Hodges court also confirmed these principles in Blair
3    v. Rent-A-Center, 928 F.3d 819, 822-23 (9th Cir. 2019) where it found that the plaintiff
4    Blair had sought public injunctive relief by demanding a halt to Rent-A-Center’s

5    unlawful pricing structure, a remedy that would affect a future benefit to the general

6    public at large, not just to the plaintiff. Hodges at 1116.
            Defendants incorrectly argue that the injunctive relief under The Clayton Act
7
     Section 16 is limited to “threatened loss or damage.” But the Court in California v.
8
     American Stores, 495 U.S. 271 at 281-282 specifically rejected that argument, stating:
9
             “If divestiture is an appropriate means of preventing future harm, the statutory
10          reference to “threatened loss or damage” surely does not negate the Court’s
11
            power to grant such relief…. The second phrase, which refers to “threatened
            conduct that will cause loss or damage,” is not drafted as a limitation on the
12          power to grant relief….”
13          As a private plaintiff, Plaintiff has standing as a member of the public as a
14   whole that is threatened with loss or damage from Google and Apple’s anticompetitive
15   conduct structure to seek public injunctive relief to restore competitive conditions in
16   search in the future for the diffuse benefit of the public as a whole, FAC ¶¶162 g.-i.
17   B.     Disgorgement is Forward-Looking Injunctive Relief Meant for the Benefit
            of the Public as a Whole
18

19          The FAC seeks disgorgement of the revenues from search that Google shared

20   with Apple as future injunctive relief “to preclude Google and Apple from using these
     funds in the future as capital available to fund or promote any future agreements
21
     between them “not to compete in the search business or divide it; …to fund or
22
     promote any future pooling or sharing of profits by Google with Apple;…to fund or
23
     promote future out-of-the-box access by Google to Apple’s devices; …to preclude
24
     Google and Apple from engaging in the anticompetitive conduct alleged herein in the
25
     future.” FAC ¶¶162 c.-f.
26
            The FAC’s request for disgorgement of the payments made by Google to Apple
27   constitutes an important form of injunctive relief that is specifically authorized by
28   Section 16 of the Clayton Act. The disgorgement of the payments made by Google to

                        Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
                                                  4
            Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 5 of 6



1    Apple alleged in FAC ¶¶162 c.-f. is forward-looking “public injunctive relief” in that
2    it is directed to the diffuse benefit of the general public as a whole, not for the benefit
3    of a discrete class of persons. United States v. KeySpan Corp. 763 F. Supp 2d 633
4    (SDNY 2011). (“The primary purpose of disgorgement is not to compensate [discrete

5    victims] ... [but rather to] forc[e] a defendant to give up the amount by which he was

6    unjustly enriched.”).
            Indeed, the relief sought would directly benefit the public because the disgorged
7
     payments would be paid to the United States Treasury. United States. v Carson, 52
8
     F.3d 1173, 1182 (2d Cir. 1995). (Disgorgement is appropriate if “the funds are being
9
     used to fund or promote the illegal conduct or constitute capital available for that
10
     purpose”). Disgorgement of the payments Google made to Apple as alleged in FAC
11
     ¶¶162 c.-f. is relief for the benefit of the public as a whole in that it seeks removal of
12
     the tainted funds from Defendants to preclude their future use for anticompetitive
13   purposes either by payment to the U.S. Treasury or for the public benefit. U.S. v.
14   KeySpan Corp. 763 F. Supp 2d 633 (SDNY 2011). As stated in Liu v. Securities and
15   Exchange Commission, 140 S. Ct. 1936, 1946-47 (2020) 25 : “equity practice [has]
16   long authorized courts to strip wrongdoers of their ill-gotten gains.” Moreover, in
17   United States v. Paramount Pictures, 334 U.S. 131, 171-72 (1948) (the Court upheld
18   injunctive relief to deprive the defendant of the fruits of their anticompetitive conduct.

19   Accord, United States v. United Shoe Machinery Corp., 391 U.S. 244, 250 (1968);

20   United States v. Grinnell, 384 U.S. 563, 577 (1966); Schine Chain Theatres, Inc. v.
     United States, 334 U.S. 110, 128–29 (1948); United States v. Microsoft, 253 F.3d 34,
21
     103 (D.C. Cir. 2001) (en banc) (“[A] remedies decree in an antitrust case must seek to .
22
     . . ‘deny to the defendant the fruits of its statutory violation...”
23
            “Equity relief may include . . the disgorgement of improperly attained gains.”
24
     2A Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
25
     Principles and Their Application, Paragraph 325a (3d ed. 2006).
26
                                           CONCLUSION
27          For the reasons stated above, Defendants’ Motion to Compel Arbitration should
28   be denied.

                         Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
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           Case 4:21-cv-10001-HSG Document 81 Filed 06/24/22 Page 6 of 6



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                       Plaintiffs’ Sur-Reply to Motion to Compel Arbitration
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